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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
                               WEST PALM BEACH DIVISION

                           CASE NO. 21-81904-CIV-CANNON/Reinhart

  SHELLEY LACLAUSTRA,

         Plaintiff,

  v.

  KILOLO KIJAKAZI,
  Acting Commissioner of Social Security,

        Defendant.
  ____________________________________/

                      ORDER ACCEPTING IN PART AND DENYING IN PART
                         R&R AND GRANTING MOTION TO REMAND

         THIS CAUSE comes before the Court upon Magistrate Judge Bruce E. Reinhart’s Report

  and Recommendation (the “Report”) [ECF No. 20], entered on May 17, 2022. The Report

  recommends that Defendant’s Opposed Motion for Entry of Judgment with Reversal and Remand

  of the Cause to the Defendant (the “Motion”) [ECF No. 18] be granted according to the terms in

  Plaintiff’s proposed remand order [ECF No. 19-1]. On May 26, 2022, Defendant filed an objection

  to the Report [ECF No. 23]. The Court has conducted a de novo review of the Report and the full

  record. Following that review, the Court ACCEPTS IN PART AND REJECTS IN PART the

  Report such that it grants the Motion according to the terms in Defendant’s proposed remand order

  [ECF No. 18-1].

         This Court has the authority to reverse and remand the Commissioner’s decision under 42

  U.S.C. § 405(g), which provides that the Court may enter a judgment “reversing the decision of

  the Commissioner of Social Security, with or without remanding the cause for a rehearing.” 42

  U.S.C. § 405(g). Accordingly, it is hereby

         ORDERED AND ADJUDGED as follows:
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                                                     CASE NO. 21-81904-CIV-CANNON/Reinhart


        1. The Report [ECF No. 20] is ACCEPTED IN PART AND REJECTED IN PART.

        2. The Motion [ECF No. 18] is GRANTED in accordance with the terms of Defendant’s

           proposed remand order [ECF No. 18-1].

        3. The Commissioner’s decision is REVERSED.

        4. This matter is hereby REMANDED to the Commissioner. Upon Remand, the Appeals

           Council will instruct the administrative law judge (“ALJ”) to obtain supplemental

           evidence from a vocational expert (“VE”) to clarify the effect of the assessed

           limitations on the claimant’s occupational base. The hypothetical questions the ALJ

           poses to the VE should reflect the specific capacity/limitations established by the record

           as a whole. The ALJ should ask the VE to identify examples of appropriate jobs and

           to state the incidence of such jobs in the national economy. Further, before relying on

           the VE evidence, the ALJ should identify and resolve any conflicts between the

           occupational evidence provided by the VE and information in the Dictionary of

           Occupational Titles (“DOT”) and its companion publication, the Selected

           Characteristics of Occupations (“SCO”). The ALJ should also offer the claimant the

           opportunity for a hearing; take any further action needed to complete the administrative

           record; and issue a new decision.

        5. The Court will enter a separate judgment pursuant to Federal Rule of Civil Procedure

           58.

        DONE AND ORDERED in Chambers at Fort Pierce, Florida this 27th day of May 2022.



                                                      ___________________________________
                                                      AILEEN M. CANNON
                                                      UNITED STATES DISTRICT JUDGE
  cc:   Counsel of Record
        Magistrate Judge Reinhart

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